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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  BERKLEY INSURANCE, Co., et al.,

                     Plaintiffs,
                                                            Case No. 1:13-cv-1053 (RCL)
          v.

  FEDERAL HOUSING FINANCE
  AGENCY, et al.,

                     Defendants.

  In Re Fannie Mae / Freddie Mac Senior
  Preferred Stock Purchase Agreement Class                  Case No. 1:13-mc-01288 (RCL)
  Action Litigations



  This document relates to:
  ALL CASES



                                      FINAL JUDGMENT

        This action came before the Court for a trial by jury. The issues having been tried and the

jury having rendered its verdict on August 14, 2023,

        IT IS ORDERED AND ADJUDGED that judgment is hereby entered in favor of Lead

Plaintiffs/Class Representatives Joseph Cacciapalle, Michelle M. Miller, Timothy J. Cassell, and

Barry P. Borodkin in Case No. 1:13-mc-01288 (RCL) (hereinafter “Class Plaintiffs”), on behalf of

themselves and the following Classes that were certified by the Court in its Order of December 7,

2021:

        (1) All holders of junior preferred stock in the Federal National Mortgage Association

           (known as “Fannie Mae”) as of December 7, 2021, or their successors in interest to the
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           extent shares were sold after that date and before any final judgment 1 (the “Fannie Mae

           Preferred Class”);

       (2) All holders of junior preferred stock in the Federal Home Loan Mortgage Corporation

           (known as “Freddie Mac”) as of December 7, 2021, or their successors in interest to the

           extent shares were sold after that date and before any final judgment (the “Freddie Mac

           Preferred Class”); and

       (3) All holders of common stock in Freddie Mac as of December 7, 2021, or their

           successors in interest to the extent shares were sold after that date and before any final

           judgment (the “Freddie Mac Common Class”).

       IT IS FURTHER ORDERED AND ADJUDGED that judgment is also hereby entered in

favor of Plaintiffs Berkley Insurance Company, Acadia Insurance Company, Admiral Insurance

Company, Berkley Regional Insurance Company, Carolina Casualty Insurance Company,

Midwest Employers Casualty, Nautilus Insurance Company and Preferred Employers Insurance

Company in Case No. 1:13-cv-1053 (RCL) (hereinafter “WR Berkley Plaintiffs”), who will

recover out of the overall judgment amounts listed for the Classes below. The portion of the

judgment awarded to the WR Berkley Plaintiffs shall be based on their having opted out of the

Classes with respect to certain holdings of Fannie Mae preferred shares and Freddie Mac preferred

shares owned as of the date of their April 22, 2022 exclusion letter through to the date of this



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   “Final judgment” for purposes of each the definitions of the Classes means the judgment of
 the Court after (1) any and all appeals to the U.S. Court of Appeals for the D.C. Circuit (the
 “Court of Appeals”) have been adjudicated, or the time for appeal to the Court of Appeals has
 expired with no appeal having been taken, (2) any and all petitions for writ of certiorari to the
 U.S. Supreme Court (the “Supreme Court”) have been adjudicated, or the time for filing
 petitions for writ of certiorari has expired with no petition having been filed, and (3) if any
 petition for writ of certiorari is granted, any and all appeals to the Supreme Court have been
 adjudicated. See ECF No. 140-1 at 6 (Class Notice Stipulation).


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judgment, and proven at trial through PX-0462; provided that (a) the distribution of this allocable

award to the WR Berkley Plaintiffs shall be dependent on the WR Berkley Plaintiffs still owning

the shares identified in PX-0462 as of the date of the final, non-appealable judgment in this case,

and (b) that allocable award as to the WR Berkley Plaintiffs shall be determined according to the

same methodology used by the Court to determine the share of the judgment allocable to the

various members of the Classes, except that no deduction shall be made from the WR Berkley

Plaintiffs’ share for any award of attorneys’ fees or non-taxable costs to Class Counsel;

       IT IS FURTHER ORDERED AND ADJUDGED that the judgment amount for each of

the Classes shall be reduced by the sum of damages and interest attributable to “Specified

Shares,” as defined by the Plan of Allocation, incorporated herein.

       IT IS FURTHER ORDERED AND ADJUDGED that the Court approves the Plan of

Allocation filed by Class Counsel on January 22, 2024, subject to the Court’s retaining

jurisdiction to resolve any objections by class members to that Plan of Allocation following the

issuance of appropriate notice to the classes of that plan;

       IT IS FURTHER ORDERED AND ADJUDGED that said judgment shall be in the

following amounts:
      (1) $299,400,000.00 in favor of the Fannie Mae Preferred Class, plus $ 199,650,000.00

           in prejudgment interest;

      (2) $281,800,000.00 in favor of the Freddie Mac Preferred Class;

      (3) $31,200,000.00 in favor of the Freddie Mac Common Class,

for a total judgment in the amount of $ 812,050,000.00;

        IT IS FURTHER ORDERED AND ADJUDGED that post-judgment interest shall

accrue separately and additionally on the principal, prejudgment interest, and costs and

expenses

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awarded to each separate Class in this Judgment from the date of entry of this judgment until paid in

full, at the rate established under 28 U.S.C. § 1961, with post-judgment interest computed daily to the

date of payment and compounded annually;

       IT IS FURTHER ORDERED AND ADJUDGED that taxable costs in this action shall be

awarded to Plaintiffs and their counsel in accordance with Federal Rule of Civil Procedure 54(d)(1)

and Local Rule of Civil Procedure 54.1, except that the deadline for the submission of the request

for such taxable costs shall be the later of 30 days after the date this Judgment is entered or 30 days

after the date this Court resolves any motion under Federal Rules of Civil Procedure 50, 59, or 60;

       IT IS FURTHER ORDERED AND ADJUDGED that:

       (1) Judgment in favor of the Fannie Mae Preferred Class shall hereby be entered jointly

           and severally against Defendants Fannie Mae and the Federal Housing Finance Agency

           (often referred to as “FHFA” or “the Conservator”), in its role as Conservator of the

           company known as Fannie Mae;

       (2) Judgment in favor of the Freddie Mac Preferred Class shall hereby be entered jointly

           and severally against Defendants Freddie Mac and FHFA, in its role as Conservator of

           the company known as Freddie Mac;

       (3) Judgment in favor of the Freddie Mac Common Class shall hereby be entered in jointly

           and severally against Defendants Freddie Mac and FHFA, in its role as Conservator of

           the company known as Freddie Mac;

       IT IS FURTHER ORDERED AND ADJUDGED that the Court shall retain jurisdiction to

award attorneys’ fees and nontaxable costs and expenses in this action, out of the final judgment

amounts, to counsel for Lead Plaintiffs/Class Representatives. In accordance with Federal Rules

of Civil Procedure 54(d)(2) and 23(h), the Court extends the deadline for Lead Plaintiffs/Class

Representatives and their counsel to make a motion for such attorneys’ fees and costs beyond the



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